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                              UNITED STATES DISTRICT COURT
   9
                           SOUTHERN DISTRICT OF CALIFORNIA
  10
       MATTHEW JONES, et al.,              ) Case No.: 3:19-cv-01226-L-AHG
  11                                       )
                     Plaintiffs,
  12                                       ) Hon. M. James Lorenz and Magistrate Judge
       v.                                  ) Allison H. Goddard
  13                                       )
       ROB BONTA, in his official
  14   capacity as Attorney General of the ) PLAINTIFFS’ MEMEORANDUM OF
       State of California, et al.,1       )
  15                                         POINTS AND AUTHORITIES IN SUPPORT
                                           )
                                             OF NOTICE OF MOTION AND MOTION
  16   Defendants.                         )
                                             FOR PRELIMINARY INJUNCTION; OR
                                           )
  17                                         ALTERNATIVELY, MOTION FOR
                                           )
                                             SUMMARY JUDGMENT
  18                                       )
                                           )
  19                                          Action Filed: July 1, 2019
                                           )
  20                                       ) First Amended Complaint Filed:
                                           ) July 30, 2019
  21                                       ) Second Amended Complaint Filed: Nov. 8,
  22                                       ) 2019
       ____________________________ )
  23
                                              No oral argument will be heard pursuant to
  24                                          local rules unless ordered by the Court
  25
  26   1
         Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as California
  27
       Attorney General, and Allison Mendoza is automatically substituted for her predecessors,
       former Directors Louis Lopez and Martin Horan, and former Acting Directors Brent E.
  28   Orick and Blake Graham. Fed. R. Civ. P. 25(d).
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   1   I.      INTRODUCTION
   2           This Second Amendment rights case is brought to protect the “right of the
   3   people” to keep and bear arms for self-defense and all other lawful purposes. In spite
   4   of this preexisting, individual constitutional right that “shall not be infringed,” the
   5   State of California prohibits law-abiding 18-to-20-year-old adults from purchasing or
   6   possessing firearms in common use throughout the United States by exhaustively
   7   regulating the sales and transfers of such firearms to 18-to-20-year-olds. Simply
   8   stated, Californians over the age of 21 can purchase and possess firearms under a
   9   highly regulated, multi-faceted statutory scheme; but law-abiding 18-to-20-year-olds
  10   are prohibited from purchasing or possessing such firearms. This ban violates the
  11   Second Amendment.
  12           Under the Supreme Court’s decision in New York State Rifle & Pistol Ass’n,
  13   Inc. v. Bruen, 142 S.Ct. 2111 (2022), Plaintiffs’ Second Amendment claim centers on
  14   two fundamental points. First, the “conduct” the Plaintiffs wish to engage in — the
  15   purchase and possession of firearms for self-defense and all other lawful purposes —
  16   is covered by the Second Amendment’s plain text, so the Constitution “presumptively
  17   protects” that conduct. Bruen, 142 S.Ct. at 2126. And second, the State bears the
  18   burden to justify its age-based regulation by “demonstrate[ing] that the regulation is
  19   consistent with this Nation’s historical tradition of firearm regulation.” Id. This
  20   showing cannot be made, however, as there is no historical tradition of restricting
  21   sales or transfers of firearms to 18-to-20-year-olds while allowing such sales/transfers
  22   to those that are 21-years old. If, as here, the State cannot meet its burden, the
  23   challenged statutory scheme is unconstitutional — full stop. And Bruen abrogated all
  24   lower court cases applying any “means-end test such as strict or intermediate
  25   scrutiny.” Id. at 2129. Accordingly, the State cannot posit that its age-based
  26   prohibition promotes an important interest because no “interest-balancing inquiry”
  27   can be invoked under Bruen. Id. Because the State cannot justify its statutory scheme
  28
                                                    1
            PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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   1   under the Bruen legal framework, the State’s age-based prohibition violates the
   2   Second Amendment and must be enjoined.
   3            This motion is brought alternatively as a motion for preliminary injunction
   4   (with a request to advance the trial on the merits to the time of the motion hearing
   5   under Federal Rules of Civil Procedure 65(a)(2)) or a motion for summary judgment.
   6   Either motion is appropriate, as the questions presented turn on legal issues that
   7   Bruen itself dictates must be resolved in Plaintiffs’ favor.
   8
       II.      RELEVANT PROCEDURAL HISTORY
   9
                California has restricted the sale of most firearms to anyone under 21. This
  10
       Court declined to issue a preliminary injunction ECF 21 (Motion), ECF 66 (Order).
  11
       Plaintiffs filed a timely appeal to the Ninth Circuit. ECF 68. On May 11, 2022, the
  12
       Ninth Circuit affirmed in part, and reversed in part, this Court’s order denying
  13
       Plaintiffs’ preliminary injunction. Jones v. Bonta, Case No. 20-56174 (9th Cir. 2022).
  14
       In July 2022, the State petitioned for panel rehearing and a rehearing en banc. On
  15
       September 7, 2022, the Ninth Circuit granted the request for panel rehearing, vacated
  16
       the Panel’s May 11, 2022, opinion, vacated this Court’s order denying preliminary
  17
       injunction, and remanded the case for further proceedings consistent with the
  18
       Supreme Court’s decision in Bruen. ECF 91.
  19
                Based on the Ninth Circuit’s September 7, 2022, ruling, Plaintiffs’ preliminary
  20
       injunction motion (ECF 21) remained pending. On September 14, 2022, this Court
  21
       ordered the parties to file supplemental briefing discussing the impact of Bruen on
  22
       Plaintiffs’ motion. ECF 92. Plaintiffs and the State filed supplemental briefing. See
  23
       ECF 95 (Plaintiffs), ECF 96 (State), ECF 99 (Plaintiffs’ opposition). Thereafter, this
  24
       Court issued an order finding that Bruen “represents a change in the legal framework
  25
       this Court applied when deciding Plaintiffs’ preliminary injunction motion,” and
  26
       therefore, the Court denied Plaintiffs’ motion for preliminary injunction as moot
  27
       (ECF 100); and allowed Plaintiffs to refile its motion no later than January 16, 2023,
  28
                                                     2
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   1   with the State’s opposition due no later than March 16, 2023, and any reply due no
   2   later than April 17, 2023. Though this combined motion does not require discovery to
   3   resolve the undisputed legal questions presented, the State concedes the parties have
   4   engaged in fact and expert discovery, including the exchange of expert reports (ECF
   5   83, 96) and this Court already directed that any additional discovery be addressed and
   6   scheduled “consistent” with the above-set briefing schedule (ECF 100).
   7   III.   LEGAL STANDARDS GOVERNING ALTERNATIVE MOTIONS
   8
              Plaintiffs move in the alternative for a preliminary injunction with an
   9
       expedited trial on the merits or for summary judgment. “A plaintiff seeking a
  10
       preliminary injunction must establish that he is likely to succeed on the merits, that
  11
       he is likely to suffer irreparable harm in the absence of preliminary relief, that the
  12
       balance of equities tips in his favor, and that an injunction is in the public interest.”
  13
       Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Where, as here, the
  14
       government is a party, the balance of equities factor and the public interest factor
  15
       merge. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).
  16
              If treated as a motion for preliminary injunction, Plaintiffs ask that the Court
  17
       advance the trial on the merits and consolidate it with the preliminary injunction
  18
       hearing. Fed. R. Civ. P. 65(a)(2). An expedited merits hearing is appropriate
  19
       because Plaintiffs’ challenge raises only issues of law; and discovery and
  20
       additional factual development are unnecessary particularly, as here, where further
  21
       discovery was allowed consistent with this Court’s December 14, 2022 Order (ECF
  22
       100). See Slidewaters LLC v. Wash. State Dep’t of Lab. & Indus., 4 F.4th 747, 760
  23
       (9th Cir. 2021).
  24
  25          Alternatively, Plaintiffs are entitled to summary judgment under Federal
  26   Rule of Civil Procedure 56. Summary judgment is appropriate if the moving
  27   party demonstrates that there is no genuine issue of material fact and that it is
  28
                                                   3
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  1   entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v.
  2   Catrett, 477 U.S. 317, 322 (1986). “Disputes over irrelevant or unnecessary facts
  3   will not preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec.
  4   Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Where the party moving for
  5   summary judgment does not bear the burden of proof at trial, “the burden on the
  6   moving party may be discharged by ‘showing’—that is, pointing out to the district
  7   court — that there is an absence of evidence to support the nonmoving party’s
  8   case.” Celotex Corp., 477 U.S. at 325.
  9
      IV.      CALIFORNIA’S FIREARMS REGULATIONS
 10
               As pointed out by the Panel, Jones v. Bonta, 34 F.4th 704 (9th Cir. 2022),
 11
      vacated and remanded on reh’g for further proceedings consistent with Bruen,
 12
      California “regulates the acquisition, possession, and ownership of firearms with a
 13
      multifaceted scheme.” Id. at 710. The scheme is pervasive and confusing. And the
 14
      Panel has already determined that the challenged scheme is a “blanket ban” on the
 15
      ability of 18-to-20-year-olds to acquire centerfire semiautomatic rifles except for law
 16
      enforcement officers and active-duty military service members, which is no exception
 17
      at all. See Jones, 34 F.4th at 724-725 (requiring young adults to “become police
 18
      officers or join the military ... is no exception at all”). As to long guns, the challenged
 19
      scheme is a near-total-ban on the ability of 18-to-20-year-olds to acquire long guns
 20
      unless they purchase a state hunting license, which itself is a condition found
 21
      nowhere in the text of the Second Amendment, nor its relevant historical tradition;
 22
      and, it cannot be justified by the State’s oblique references as a “training” or “safety”
 23
      condition.
 24
 25            At the outset, California continues to strictly regulate the purchase and
 26   possession of handguns by 18-to-20-year-olds. See Penal Code §§ 27505, 27510,
 27   29610. Federal law, 18 U.S.C. § 922(b)(1), also already strictly limits the right of 18-
 28
                                                    4
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  1   to-20-year-olds to purchase a handgun — the “quintessential self-defense weapon”
  2   which is “the most popular weapon ... for self-defense in the home.” Heller, 554 U.S.
  3   at 629. Second, except for some intrafamily transfers and loans, the State’s scheme
  4   already requires that all firearm transfers, not just to 18-to-20-year-old adults, occur
  5   at a licensed firearms dealer. Penal Code §§ 31615, 27540(e). Relatedly, intrafamily
  6   transfers and loans are “severely restrictive.” See Jones v. Bonta, 34 F.4th at 710,
  7   n.2. Third, the purchaser, including 18-to-20-year-olds, must have a valid firearm
  8   safety certificate (FSC). Penal Code §§ 31615, 27540(e).
  9
             And, in 2018, California signed into law Senate Bill 1100 (SB-1100), effective
 10
      January 1, 2019, amending Penal Code section 27510 to increase the State’s
 11
      minimum age for firearm purchases and possession from 18 years of age to 21. Prior
 12
      to enactment of SB 1100 (Penal Code section 27510), existing California law
 13
      prohibited the sale or transfer of a handgun, except as exempted, to any person under
 14
      the age of 21. However, then-existing California law allowed a person at least 18
 15
      years of age to buy or transfer a firearm that is not a handgun (e.g., shotguns, rifles,
 16
      and other long guns).
 17
             While this case was pending, California again amended Penal Code section
 18
      27510 through Senate Bill 61 (SB-61). As amended, Section 27510 prohibits 18-to-
 19
      21-year-olds from acquiring all firearms, except for “long guns” if the purchaser first
 20
      obtains a valid state hunting license. See Penal Code § 27510(b)(1)-(3). However,
 21
      even if the purchaser obtains a valid state hunting license, they are still prohibited
 22
      from purchasing a centerfire semiautomatic rifle.2 Thus, California’s restrictions,
 23
      including Section 27510’s age ban, apply to virtually all firearm purchases,
 24
      acquisitions, or transfers within the State. It is a “blanket ban” on handguns and
 25
 26
      2
 27     Note that all rifles (both centerfire and rimfire rifles) fall under the broader category of
      “long guns.”
 28
                                                    5
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   centerfire rifles; and it is a near-total-ban on long guns (and other rifles) unless the
  2   person has a state hunting license. See Jones, 34 F.4th at 710-711, 724-725.
  3
            Now, the State may assert that Section 27510 contains only “modest
  4
      restrictions” and that it addresses “commerce” in firearms and not their possession.
  5
      But this assertion was rejected in the Panel opinion. Before addressing the historical
  6
      record, the Panel noted that “California regulates young adults’ commerce in
  7
      firearms, not their possession” (Jones v. Bonta, 34 F.4th at 715); at the same time, the
  8
      Panel readily acknowledged that “[c]ommerce in firearms is a necessary prerequisite
  9
      to keeping and possessing arms for self-defense,” Id. at 715-716. The Panel went
 10
      further:
 11
            We have assumed without deciding that the “right to possess a firearm
 12
            includes the right to purchase one.” Bauer v. Becerra, 858 F.3d 1216,
 13         1222 (9th Cir. 2017). And we have already applied a similar concept
            to other facets of the Second Amendment. For example, “[t]he Second
 14
            Amendment protects ‘arms,’ ‘weapons,’ and ‘firearms’; it does not
 15         explicitly protect ammunition.” Jackson, 746 F.3d at 967. Still,
            because “without bullets, the right to bear arms would be
 16
            meaningless,” we held that “the right to possess firearms for
 17         protection implies a corresponding right” to obtain the bullets
            necessary to use them. Id. (citing Ezell v. City of Chicago, 651 F.3d
 18
            684, 704 (7th Cir. 2011)).
 19
            Similarly, without the right to obtain arms, the right to keep and bear
 20         arms would be meaningless. Cf. Jackson, 746 F.3d at 967 (right to
            obtain bullets). “There comes a point . . . at which the regulation of
 21
            action intimately and unavoidably connected with [a right] is a
 22         regulation of [the right] itself.” Luis v. United States, 136 S. Ct. 1083,
            1097 (Thomas, J., concurring in the judgment) (quoting Hill v.
 23
            Colorado, 530 U.S. 703, 745 (2000) (Scalia, J., dissenting)) [Footnote
 24         omitted.] For this reason, the right to keep and bear arms includes the
            right to purchase them. And thus laws that burden the ability to
 25
            purchase arms burden Second Amendment rights. Id. at 715-716
 26         (emphasis added).
 27
 28
                                                 6
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  1   V.      PERTINENT FACTUAL BACKGROUND
  2           At the time Plaintiffs filed their first preliminary injunction, the individually
  3   named Plaintiffs were legal adults between the ages of 18 to 20 years old not
  4   otherwise prohibited from acquiring and possessing firearms. ECF 21-2 (Jones Dec. ¶
  5   2-8); ECF 21-3 (Furrh Dec. ¶ 2-11); ECF 21-4 (Yamamoto Dec. ¶ 2-10); ECF 21-7
  6   (Williams Dec. ¶ 2-11). Each Plaintiff attempted to purchase a firearm in California,
  7   and each was denied their Second Amendment rights based solely on their age. Id. As
  8   legal adults over 18 years old, each Plaintiff can vote, enter into contracts, get
  9   married, enter the military voluntarily, be selected for and inducted for service into
 10   the military — all without restriction on the basis of their age. ECF 21-11 Hardy Dec.
 11   ¶ 25, Ex. 17, at 478-480. In addition, individual members of the organizational
 12   Plaintiffs (e.g., Jose Chavez and Andrew Morris)3 are currently being denied their
 13   right to keep and bear arms through California’s age-based ban. (See Chavez and
 14   Morris Declarations, filed concurrently herewith.)
 15
              Plaintiffs Poway Weapons and Gear (PWG), Beebe Family Arms and
 16
      Munitions (Beebe Arms), and North County Shooting Center (NCSC) were forced to
 17
      stop all sales and firearm transfers to young adults. ECF 21-5 (Phillips Dec. ¶ 2-8);
 18
      ECF 21-20 (Beebe Dec. ¶ 2-7); ECF 21-6 (Prince Dec. ¶ 2-10). Plaintiffs PWG and
 19
      NCSC are also licensed shooting ranges. Each entity has been forced to deny young
 20
      adults the ability to rent, use, and train for proficiency and safety with firearms at
 21
      their ranges. ECF (Phillips Dec. ¶ 3-8); ECF 21-6 (Prince Dec. ¶ 2-10). Even if a
 22
      young adult is accompanied by an individual over 21, PWG, NCSC, and other gun
 23
 24   3
        Currently pending is Plaintiffs’ motion for leave to amend Plaintiffs’ complaint, or
 25   alternatively, to add new individual plaintiffs via permissive joinder (ECF 101). The
      same individuals seeking to be added as individual plaintiffs are current members of
 26   the already named organizational Plaintiffs. As such, the allegations made in
 27   Plaintiffs’ motion by Mr. Chavez and Mr. Morris are already encompassed within the
      current operative Second Amended Complaint.
 28
                                                   7
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   ranges cannot rent or provide firearms to them for fear of violating Penal Code
  2   section 27510. Id. Further, PWG and NCSC have been forced to prevent young adults
  3   from attending and taking part in firearms and hunter education courses, as each
  4   course calls for attendees to handle, use, and control firearms. ECF 21-5 (Phillips
  5   Dec. ¶ 3-8); ECF 21-6 (Prince Dec. ¶ 2-10).
  6
                Plaintiffs Firearms Policy Coalition (FPC), Firearms Policy Foundation (FPF),
  7
      California Gun Rights Foundation (CGF), and Second Amendment Foundation (SAF)
  8
      also represent adult members, ages 18 to 20, including Jose Chavez and Andrew
  9
      Morris, who have been denied their Second Amendment rights and that would
 10
      otherwise purchase and acquire firearms but for Penal Code section 27510. ECF 21-8
 11
      (Combs Dec. ¶ 2-10); ECF 21-10 (Gottlieb Dec. ¶ 2-5). Penal Code section 27510
 12
      unconstitutionally prohibits these lawful adults from purchasing firearms based solely
 13
      on their age. To deprive them the right to acquire and possess a firearm for self-
 14
      defense and other lawful purposes unquestionably violates their Second Amendment
 15
      rights.
 16
      VI.       THE SECOND AMENDMENT FRAMEWORK
 17
                SUPPORTS THE GRANT OF THIS MOTION
 18
                This Court made the finding that “Bruen represents a change in the legal
 19
      framework this Court applied when deciding Plaintiffs’ preliminary injunction
 20
      motion.” ECF 100. The Second Amendment legal framework under Heller and Bruen
 21
      supports the grant of this motion.
 22
 23             A.    The Bruen Framework
 24             “A well regulated Militia, being necessary to the security of a free State, the
 25   right of the people to keep and bear Arms, shall not be infringed.” U.S. CONST.
 26   amend. II. The Second (and the Fourteenth) Amendment “protect[s] an individual’s
 27   right to carry a handgun for self-defense outside the home.” N.Y. State Rifle & Pistol
 28
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  1   Ass’n, Inc. v. Bruen, 142 S. Ct. at 2122; see also District of Columbia v. Heller, 554
  2   U.S. 570 (2008); McDonald v. Chicago, 561 U.S.742 (2010).
  3
               In Bruen, the Supreme Court reiterated the legal framework for applying the
  4
      Second Amendment. In doing so, the Supreme Court rejected the two-step means-end
  5
      scrutiny adopted by the Ninth Circuit and other courts of appeal, calling it
  6
      “inconsistent with Heller’s historical approach.” Bruen, 142 S. Ct. at 2129. Pursuant
  7
      to Bruen, rather than a two-step means-end scrutiny, courts must “assess whether
  8
      modern firearms regulations are consistent with the Second Amendment’s text and
  9
      historical understanding.” Id. at 2132. Stated another way, courts must first interpret
 10
      the Second Amendment’s text, as informed by history. When the plain text of the
 11
      Second Amendment covers an individual’s conduct, the Constitution presumptively
 12
      protects that conduct. Id. at 2129–30. The burden is then placed on the State to
 13
      “justify its regulation by demonstrating that it is consistent with the Nation’s
 14
      historical tradition of firearm regulation. Only then may a court conclude that the
 15
      individual’s conduct falls outside the Second Amendment’s ‘unqualified command.’”
 16
      Id. at 2116, 2130 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n.10
 17
      (1961)). If the State cannot meet its burden, the law or regulation is unconstitutional
 18
      — full stop. No interest-balancing or scrutiny analysis can or should be conducted.
 19
      Id. at 2127, 2129-2130.
 20
               B.    Application to California’s Categorical Prohibitions
 21
 22            With this framework clarified, the question is whether California can prohibit
 23   the acquisition of firearms, specifically, centerfire rifles and long guns, from an entire
 24   class of people ― law-abiding 18-to-20-year-olds ― based solely on their age. Under
 25   Bruen, both of these aspects of the challenged law violate Plaintiffs’ Second
 26   Amendment right. See Jones v. Bonta, 34 F.4th at 716.
 27   ///
 28
                                                    9
            PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1               1.      The Second Amendment Text Covers 18-to-20-Year-Olds.
  2         This Court must start with the Second Amendment text. See, e.g., Shannon v.
  3   United States, 512 U.S. 573, 580 (1994) (Thomas, J.) (“[W]e turn first, as always, to
  4   the text[.]”). If the plain text covers the individual’s conduct, the Constitution
  5   presumptively protects that conduct.
  6
            Here, Plaintiffs are law-abiding 18-to-20-year-olds, licensed dealers/ranges
  7
      desiring to sell or transfer firearms to 18-to-20-year-olds, and Second Amendment
  8
      rights organizations with 18-to-20-year-old members who want to acquire firearms
  9
      for self-defense and all other lawful purposes. However, the State has enacted the
 10
      challenged law to prohibit firearm sales or transfers to 18-to-20-year-olds. The
 11
      relevant question, therefore, is whether law-abiding 18-to-20-year-olds are
 12
      encompassed under the text of the Second Amendment; and the answer is yes ―
 13
      unquestionably, they are part of “the people” referenced in the Second Amendment.
 14
            At the outset, the text of the Second Amendment does not include any age
 15
      restriction. This absence is notable — when the Framers meant to impose age
 16
      restrictions, they did so expressly. See, e.g., U.S. CONST. art. I, § 2 (age 25 for the
 17
      House of Representatives); id. art. I, § 3 (age 30 for the Senate); id. art. II, § 1 (age 35
 18
      for the President). Instead, the Second Amendment refers only to “the people,” which
 19
      various Founding-Era dictionaries define as a reference to those who make up the
 20
      “national community.” See United States v. Jimenez-Shilon, 34 F.4th 1042, 1044–
 21
      1045 (11th Cir. 2022) (quoting Noah Webster, American Dictionary of the English
 22
      Language 600 (1st ed. 1828) (“The body of persons who compose a community,
 23
      town, city, or nation.”)); see also 2 Samuel Johnson, A Dictionary of the English
 24
      Language 305 (6th Ed. 1785) (“A nation; those who compose a community.”)).
 25
 26         Consistent with the above, Heller said “the people” is a term of art that refers
 27   to “all members of the political community, not an unspecified subset.” 554 U.S. at
 28
                                                  10
         PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   580. Heller’s interpretation found support in an earlier decision, United States v.
  2   Verdugo-Urquidez, which considered the Fourth Amendment’s reference to “the
  3   people.” 494 U.S. 259 (1990). In that case, the Supreme Court interpreted the phrase
  4   to encompass those “persons who are part of a national community” or those who
  5   have “sufficient connection with this country to be considered part of that
  6   community.” Id. at 265. Indeed, the Court in Heller made clear that the “Second
  7   Amendment right is exercised individually and belongs to all Americans.” Id. 554
  8   U.S. at 581.
  9         Following suit, the Supreme Court in Bruen stated it was undisputed that
 10   “ordinary, law-abiding, adult citizens [] are part of ‘the people’ whom the Second
 11   Amendment protects.” Id., 142 S. Ct. at 2134. “The Second Amendment . . . ‘surely
 12   elevates above all other interests the right of law-abiding, responsible citizens to use
 13   arms’ for self-defense.” Id. at 2131 (quoting Heller, 554 U.S. at 635). As such,
 14   binding Supreme Court authority has answered whether the text of the Second
 15   Amendment encompasses 18-to-20-year-old adults — it does.
 16         Additionally, the other two enumerated rights of “the people” ― the First and
 17   Fourth Amendment rights ― apply to all Americans regardless of age. Tinker v. Des
 18   Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511 (1969); New Jersey v. T.L.O., 469
 19   U.S. 325, 334 (1985). Specifically, the First Amendment has been interpreted to
 20   apply to all persons, even those under the age of 18. E.g., Tinker, 393 U.S. at 506
 21   (free speech); see also W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642
 22   (1943) (free exercise). While the First Amendment is limited in some contexts (such
 23   as the forum or content), age is not a basis for denying the enumerated right. Tinker,
 24   393 U.S. at 506 (“First Amendment rights, applied in light of the special
 25   characteristics of the school environment, are available to teachers and students. It
 26   can hardly be argued that either students or teachers shed their constitutional rights to
 27   freedom of speech or expression at the schoolhouse gate.” (Emphasis added).
 28
                                                 11
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  1            And the Fourth Amendment likewise protects individuals regardless of age.
  2   See New Jersey v. T.L.O., 469 U.S. at 334. Under the Fourth Amendment, the
  3   expectation of privacy is not affected based on the age of the person being searched.
  4   Instead, the context of a search is the distinguishing factor. Id. Accordingly, both the
  5   First and Fourth Amendment support the interpretation “of the people” without
  6   regard to age. This Court cannot engraft an age restriction onto the Second
  7   Amendment where none exists.
  8            Moreover, interpreting “the people” to include 18-to-20-year-olds is also
  9   consistent with the rest of the text of the Second Amendment. As explained in Heller,
 10   the Second Amendment contains two clauses. The prefatory clause, which states “[a]
 11   well regulated Militia, being necessary to the security of a free State . . . ,”
 12   “announces the purpose for which the right was codified: to prevent elimination of
 13   the militia.” Heller, 554 U.S. at 599. And there is the operative clause ― “the right of
 14   the people to keep and bear Arms, shall not be infringed.” Id. at 579. And “[l]ogic
 15   demands that there be a link between the stated purpose and the command.” Id. at
 16   577. Here, interpreting “the people” is logically linked to the prefatory clause (and its
 17   purpose).
 18            Specifically, given the Second Amendment’s stated purpose, logic demands
 19   that if an individual was, or is, a member of the “militia,” the Second Amendment’s
 20   protections extend at least to those who constitute the militia. Stated differently,
 21   although the Second Amendment is not limited to only those in the militia, at the very
 22   least, it must protect the pool of individuals from whom the militia would be drawn.
 23   See      THOMAS         M.     COOLEY,        THE      GENERAL         PRINCIPLES        OF
 24   CONSTITUTIONAL LAW IN THE UNITED STATES OF AMERICA 271 (1880).
 25   It would be illogical to enumerate a constitutional right to keep and bear arms to
 26   maintain an armed militia if that right did not protect those individuals from whom a
 27   militia would be drawn. See Firearms Policy Coalition, Inc. v. McCraw, __
 28
                                                    12
            PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   F.Supp.3d __, 2022 WL 3656990 (N.D. Tex. 2022) (Case No. 4:21-cv-1245-P)
  2   (examining the text and history of the Second Amendment post-Bruen and holding
  3   unconstitutional a prohibition on 18-to-21-year-olds from carrying a handgun outside
  4   the home for self-defense).
  5          Further, in United States v. Miller, 307 U.S. 174, 179 (1939), the Supreme
  6   Court explained that “the Militia comprised all males physically capable of acting in
  7   concert for the common defense.” And in Heller, the Supreme Court affirmed this
  8   definition, stating it “comports with founding-era sources.” Heller, 554 U.S. at 595-
  9   599. Thus, at the Founding, the “militia” was generally understood to be comprised of
 10   “all able-bodied men,” which included 18-to-20-year-olds. Id. at 596.
 11          The historical record also supports this understanding. The First Congress
 12   enacted legislation “command[ing] that every able-bodied male citizen between the
 13   ages of 18 and 45 be enrolled in the militia and equip himself with appropriate
 14   weaponry.” Jones v. Bonta, 34 F.4th at 719 (quoting Perpich v. Dep’t of Def., 496
 15   U.S. 334, 341 (1990).) Additionally, the 1792 Act required militia members to arm
 16   themselves rather than rely on the government to provide arms. See Miller, 307 U.S.
 17   at 179 (recognizing that the militia presupposed firearm possession because “when
 18   called for service[,] these men were expected to appear bearing arms supplied by
 19   themselves and of the kind in common use at the time”).
 20          Finally, though vacated, the Panel opinion acknowledged the importance of this
 21   point, stating:
 22          America would not exist without the heroism of the young adults who
 23          fought and died in our revolutionary army. Today we reaffirm that our
             Constitution still protects the right that enabled their sacrifice: the
 24          right of young adults to keep and bear arms. Jones v. Bonta, 34 F.4th
 25          at 710.

 26
             The Panel opinion went further to bolster its interpretation of the Second

 27
      Amendment text and history. Beginning even before 1791, the history of 18-to-20-
      year-olds keeping and bearing arms uniformly shows that they were part of the
 28
                                           13
         PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   “militia” referred to in the Amendment’s text. “The tradition of young adults keeping
  2   and bearing arms is deep-rooted in English law and custom” and American colonists
  3   brought that tradition across the Atlantic.” Jones, 34 F.4th at 717.
  4         “At the time of the founding, all states required young adults to serve in the
  5   militia, and all states required young adults to acquire and possess their own firearms”
  6   and that “just after the founding, Congress established a federal militia, which
  7   included young adults, and required them to acquire and possess their own weapons.”
  8   Id. “The historical record shows that the Second Amendment protects young adults’
  9   right to keep and bear arms” (id. at 720) and because “that right includes the right to
 10   purchase arms, both California laws [banning semiautomatic rifles and long guns]
 11   burden conduct within the scope of the Second Amendment.” Id. at 723 (see also page

 12   723, the “California laws burden the Second Amendment rights and the district court

 13   erred in concluding otherwise”). Said succinctly, “the Second Amendment protects the

 14
      right of young adults to keep and bear arms, which includes the right to purchase

 15
      them.” Id. at 710.
                   2.      The Firearms at Issue are “Arms” Under the Second
 16
                           Amendment’s Plain Text
 17
            Once it is established that 18-to-20-year-olds have Second Amendment rights
 18
      on par with other adults, the next relevant question under Bruen is whether the
 19
      firearms banned by Penal Code section 27510 are “arms” within the text of the
 20
      Second Amendment and are not both “dangerous and unusual,” since they are
 21
      commonly used by law abiding citizens for lawful purposes such as hunting, target
 22
      practice, and self-defense. Unquestionably, both centerfire semiautomatic rifles and
 23
      long guns are commonly owned, bearable arms, fully protected under the text of the
 24
      Second Amendment; and therefore, under Bruen, the State’s ban is unconstitutional.
 25
            The Second Amendment extends to all instruments that constitute bearable
 26
      arms, even those that were not in existence at the time of the founding. The Supreme
 27
      Court in Heller acknowledged this threshold point. In Bruen Supreme Court clarified
 28
                                                 14
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  1   that although “its meaning is fixed according to the understandings of those who
  2   ratified it, the Constitution can, and must, apply to circumstances beyond those the
  3   Founders specifically anticipated [citation omitted],” and “[w]e have already
  4   recognized in Heller at least one way in which the Second Amendment’s historically
  5   fixed meaning applies to new circumstances: its reference to ‘arms’ does not apply
  6   ‘only [to] those arms in existence in the 18th century ... the Second Amendment
  7   extends, prima facie, to all instruments that constitute bearable arms, even those that
  8   were not in existence at the time of the founding.” Bruen, 142 S.Ct. at 2132.
  9         C.     This Nation’s Historical Tradition of Gun Regulation
 10                1.    No Historical Laws Justify Restricting the Rights
                         of 18-to-20-Year-Olds
 11
            Bruen is clear: To prevail under a “historical tradition” analysis, the State has
 12
      the burden to justify its regulation by offering appropriate historical analogues from
 13
      the relevant time period, i.e., the founding era. “Much like we use history to
 14
      determine which modern “arms” are protected by the Second Amendment, so too
 15
      does history guide our consideration of modern regulations that were unimaginable at
 16
      the founding.” 142 S.Ct. at 2132. In Bruen, the Court found that the respondents in
 17
      that case had offered historical evidence in their attempt to justify their prohibitions
 18
      on the carrying of firearms in public. Specifically, they offered four categories of
 19
 20
      historical sources: “(1) medieval to early modern England; (2) the American Colonies

 21
      and the early Republic; (3) antebellum America; (4) Reconstruction; and (5) the late-

 22
      19th and early-20th centuries.” 142 S.Ct. at 2135-36. However, the Court noted that

 23
      “not all history is created equal. ‘Constitutional rights are enshrined with the scope

 24
      they were understood to have when the people adopted them.’ […] The Second

 25   Amendment was adopted in 1791; the Fourteenth in 1868.” Id., at 2136 (citing

 26   Heller, 554 U.S. at 634-35 (emphasis original). Thus, the Court cautioned against

 27   “giving post enactment history more weight than it can rightly bear.” 142 S.Ct. at

 28
                                                 15
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  1   2136. And “to the extent later history contradicts what the text says, the text
  2   controls.” Bruen, 142 S.Ct. at 2137 (citation omitted).
  3         Further, in examining the relevant history that was offered, the Court in Bruen
  4   noted that “[a]s we recognized in Heller itself, because post-Civil War discussions of
  5   the right to keep and bear arms ‘took place 75 years after the ratification of the
  6   Second Amendment, they do not provide as much insight into its original meaning as
  7   earlier sources.’” 142 S.Ct at 2137 (citing Heller, 554 U.S. at 614).
  8         Bruen noted an “ongoing scholarly debate on whether courts should primarily
  9   rely on the prevailing understanding of an individual right when the Fourteenth
 10   Amendment was ratified in 1868 when defining its scope (as well as the scope of the
 11   right against the Federal Government).” 142 S.Ct. at 2138. At the same time, the
 12   Court found that it had “generally assumed that the scope of the protection applicable
 13   to the Federal Government and States is pegged to the public understanding of the
 14   right when the Bill of Rights was adopted in 1791.” Id., at 2137 (citations omitted).
 15   Perhaps the Court was signaling that parties in future cases should address the issue
 16   for the Court, but it was certainly not overruling cases in which it had, dispositively,
 17   “look[ed] to the statutes and common law of the founding era to determine the norms
 18   that the [Bill of Rights] was meant to preserve.” See, e.g., Virginia v. Moore, 553
 19   U.S. 164, 168 (2008) (Fourth Amendment). And while the Court in Heller itself had
 20   reviewed materials published after adoption of the Bill of Rights, it did so to shed
 21   light on the public understanding in 1791 of the right codified by the Second
 22   Amendment, and only after surveying what it regarded as a wealth of authority for its
 23   reading—including the text of the Second Amendment and state constitutions. “The
 24   19th-century treatises were treated as mere confirmation of what the Court had
 25   already been established.” 142 S.Ct. at 2137 (citing Gamble, 139 S.Ct. at 1976).
 26         Therefore, under binding Supreme Court precedent, 1791 must be the
 27   controlling time for the constitutional meaning of Bill of Rights provisions
 28
                                                 16
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  1   incorporated against the States by the Fourteenth Amendment because, as in Heller,
  2   the Court has looked to 1791 when construing the Bill of Rights against the federal
  3   government and, as in McDonald, the Court has established that incorporated Bill of
  4   Rights provisions mean the same thing when applied to the States as when applied to
  5   the federal government. See McDonald v. City of Chicago, 561 U.S. 742, 765 (2010).
  6   Bruen did not disturb these precedents, and they are therefore binding on lower
  7   courts. State Oil Co. v. Khan, 522 U.S. 3, 20 (1997).
  8         This dispute aside, Bruen made clear that 20th-century historical evidence was
  9   not to be considered. Id., at 2154, n.28 (“We will not address any of the 20th-century
 10   historical evidence brought to bear by respondents or their amici. As with their late-
 11   19th-century evidence, the 20th-century evidence presented by respondents and their
 12   amici does not provide insight into the meaning of the Second Amendment when it
 13   contradicts earlier evidence.”).
 14         Moreover, the Panel found that the State’s reference to Reconstruction era laws
 15   were “not convincing.” Id. Aside from the “deeply offensive nature of many of
 16   them,” the Panel found that after ruling out inapplicable state laws during the
 17   Reconstruction era “we are left with only five complete bans on sales of firearms to
 18   minors.” Id. Of these five laws, three were passed in states without a Second
 19   Amendment analog in their state constitution. So, only two states — Kentucky and
 20   Michigan — banned the sale of firearms to minors, and “these two laws — both
 21   passed over a decade after the ratification of the Fourteenth Amendment — cannot
 22   contravene the Second Amendment’s original public meaning.” Id. Because of the
 23   late date of these restrictions, they necessarily “do not provide as much insight into its
 24   original meaning as earlier sources.” Heller, 554 U.S. at 614.
 25         In sum, under Bruen, some evidence cannot be appropriate historical
 26   analogues, such as 20th-century restrictions, laws that are rooted in racism, laws that
 27   have been overturned (such as total handgun bans), and laws that are inconsistent
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  1   with the original meaning of the constitutional text. Bruen, 142 S.Ct at 2137 (“post-
  2   ratification adoption or acceptance of laws that are inconsistent with the original
  3   meaning of the constitutional text obviously cannot overcome or alter that text.”)
  4   (citing Heller v. District of Columbia (Heller II), 670 F.3d 1244, 1274 n.6 (D.C. Cir.
  5   2011) (Kavanaugh, J., dissenting)). These sources of evidence must be disregarded.
  6         The Panel opinion’s inquiry confirms that the historical record is devoid of age-
  7   based firearm acquisition prohibitions or restrictions on 18-to-20-year-olds during the
  8   precolonial and the founding era. See Jones, 34 F.4th at 717-719. Additionally, there
  9   was no such historical precedent for declaring “unsafe” and prohibiting the
 10   commercial sale of firearms that are widely available and in common use for self-
 11   defense and all other lawful purposes among law-abiding 18-to-20-year-olds.
 12   Moreover, there is no such historical precedent for imposing “licensing,” “training,”
 13   or “safety” conditions and prohibiting the commercial sale of firearms to 18-to-20-
 14   year-olds. Plainly stated, the historical record shows that the State cannot justify the
 15   Penal Code section 27510’s ban on firearms based solely on age or the firearms that
 16   are in common use and are not both dangerous and unusual.
 17                2. There Is No Justification for Banning the Firearms at Issue
 18         Given that the Second Amendment’s plain text presumptively covers all
 19   bearable arms, and since the arms the State has banned are in common use, the State
 20   cannot justify its ban under the Second Amendment’s text and this Nation’s history as
 21   interpreted in Heller and Bruen. See Bruen, 142 S.Ct. at 2143 (discounting relevance
 22   of colonial laws because “even if these colonial laws prohibited the carrying of
 23   handguns because they were considered ‘dangerous and unusual weapons’ in the
 24   1690s, they provide no justification for laws restricting the public carry of weapons
 25   that are unquestionably in common use today”).
 26         Heller and Bruen have decided the underlying historical principle: only
 27   dangerous and unusual arms can be banned. This Court need only apply that
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         PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF NOTICE OF MOTION AND
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  1   historical principle to the facts in this case, just as done in Heller and Bruen. There is
  2   no need for any further historical analysis. Any attempt by the State to engage in such
  3   analysis would be asking “to repudiate the [Supreme] Court’s historical analysis,”
  4   which this Court “can’t do.” Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012). In
  5   any event, even if the question of what types of arms may be banned were an open
  6   one, the State has not, and cannot, historically support the ban at issue here.
  7         Application of the “dangerous and unusual” standard is straightforward, since
  8   this Court and the prior Panel opinion already found that both centerfire
  9   semiautomatic rifles and long guns are not both dangerous and unusual weapons. See
 10   Jones v. Becerra, 498 F. Supp. 3d at 1325; Jones v. Bonta, 34 F.4th at 716. This
 11   Court held that “[b]oth long-guns and semiautomatic centerfire rifles are commonly
 12   used by law abiding citizens for lawful purposes such as hunting, target practice, and
 13   self-defense,” and thus, they are not “dangerous and unusual weapons” under Heller,
 14   554 U.S. at 627. In addition, the Panel opinion analyzed this precise issue and
 15   “agreed” with this Court: “long guns and semiautomatic rifles are not dangerous and
 16   unusual weapons.” Jones, 34 F.4th at 716. This Court merely needs to adopt its prior
 17   finding — subsequently affirmed by the Panel opinion — that “long guns and
 18   semiautomatic rifles are not dangerous and unusual weapons.” Id.
 19         D.     The Prior Justification For the State’s So-Called Hunting License
 20
                   “Training Requirement” Has Already Been Rejected

 21         Based on the above analysis, the so-called hunting license “training
 22   requirement” also must be declared unconstitutional. Both this Court’s prior ruling
 23   and the Panel opinion justified the so-called “training requirement” of the hunting
 24   license exception to the long gun prohibition by applying intermediate scrutiny under
 25   the rejected “interest-balancing” test. See Jones, 34 F.4th at 727-728. However, the
 26   Supreme Court in Bruen explicitly rejected this “interest-balancing” approach:
 27

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  1         Federal     courts    tasked     with     making      difficult empirical
  2
            judgments regarding firearm regulations under the banner of
            “intermediate scrutiny” often defer to the determinations of
  3         legislatures. While judicial deference to legislative interest balancing
  4         is understandable — and, elsewhere, appropriate — it is not deference
            that the Constitution demands here. The Second Amendment “is the
  5         very product of an interest balancing by the people,” and it “surely
  6         elevates above all other interests the right of law-abiding, responsible
            citizens to use arms” for self-defense. Bruen, 142 S. Ct. at 2118,
  7         emphasis added (citing Heller, 554 U.S. at 635).
  8         Thus, the prior justification for upholding the State’s ban on long guns must be
  9   rejected. Under the proper legal framework under Bruen, California’s ban on long
 10   guns is categorically unconstitutional because there are no historically analogous laws
 11   or regulations that justify the State’s ban on long guns.
 12         The State, this Court, and the Panel opinion have all described California’s
 13   long gun ban as a “training requirement” for firearm purchases. Applying the Bruen
 14   standard, the State bears the burden of showing laws and regulations imposing
 15   historically analogous training requirements as a prerequisite to the exercise an
 16   individual’s Second Amendment right. The State cannot point to a single Founding
 17   era law or regulation that required an individual of any age to obtain training or
 18   licensing before they were permitted to purchase a firearm and exercise their right to
 19   keep and bear arms.
 20         Further, while the State has referenced a handful of gun powder storage laws
 21   and other laws regulating the discharge of firearms in public and has categorized
 22   them as firearm “safety laws,” they provide no support for the State’s ban. First and
 23   foremost, those laws all necessarily require the individual to possess a firearm in the
 24   first instance. They were not safety laws or regulations imposed as a prerequisite to
 25   purchasing a firearm. Moreover, unlike the uniformly applied “safety regulations,”
 26   California’s ban subjects law-abiding 18-to-20-year-olds to different restrictions than
 27   the rest of the population. As shown above, this is not supported by any historically
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  1   analogous law or regulation. Nor can the State justify its age-ban by referencing
  2   certain militia “inspection” and “maintenance” requirements as this argument was
  3   rejected by Heller and the prior Panel opinion. See Heller, 554 U.S. at 595, 599-600
  4   (“Second Amendment conferred an individual right to keep and bear arms” and that
  5   right “is not conditioned on militia service,” nor in this case, militia training,
  6   maintenance, or safety conditions); and see Jones, 34 F.4th at 721.
  7         Under the Bruen framework, the State bears the burden of showing historically
  8   analogous laws and regulations imposing training requirements as a prerequisite to
  9   exercising the fundamental right to keep and bear arms. There are no such laws or
 10   regulations. As such, the State’s long gun prohibition is also unconstitutional.
 11   VII. THE PRELIMINARY INJUNCTION STANDARDS ARE MET
 12         A.     The Irreparable Harm Factor is Established.
 13         The Panel opinion already rejected the State’s three arguments for why
 14   Plaintiffs would not be irreparably injured by the deprivation of their constitutional
 15   rights. See Jones, 34 F.4th at 732-733. Specifically, the firearm exceptions do not
 16   avoid irreparable harm because the law deprives 18-to-20-year-olds their Second
 17   Amendment right. Id. at 732. Further, the use of a firearm at shooting ranges under
 18   certain extremely limited circumstances does not alleviate the ban on allowing young
 19   adults to exercise their core Second Amendment right of self-defense. Id. Finally, that
 20   Plaintiffs can still access firearms when the eventually turn 21 does not avoid the
 21   irreparable harm. Id. at 732-733.4
 22         The harm has been demonstrated and it is irreparable. As the Ninth Circuit has
 23   emphasized, “the deprivation of constitutional rights ‘unquestionably constitutes
 24   irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)
 25   (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). Because “constitutional
 26         4
                In any case, Plaintiffs have shown that active members of the organizational
 27   Plaintiffs are currently prohibited from acquiring firearms due to the State’s age-
      based ban. See Declarations of Jose Chavez and Jason Wieringa.
 28
                                                 21
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  1   violations cannot be adequately remedied through damages [such violations]
  2   therefore generally constitute irreparable harm.” Am. Trucking Ass’ns v. City of Los
  3   Angeles, 559 F.3d 1046, 1059 (9th Cir. 2009) (citation omitted); see also Duncan v.
  4   Becerra, 265 F. Supp. 3d 1106, 1135 (S.D. Cal. 2017) (“Loss of . . . the enjoyment of
  5   Second Amendment rights constitutes irreparable injury.”).
  6         Further, the “loss of [constitutional] freedoms, for even minimal periods of
  7   time, unquestionably constitutes irreparable injury.” Roman Cath. Diocese of
  8   Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam); see also 11A Charles Alan
  9   Wright, et al., Federal Practice & Procedure § 2948.1 (3d ed. 2013) (“When an
 10   alleged deprivation of a constitutional right is involved, . . . most courts hold that no
 11   further showing of irreparable injury is necessary.”).
 12         Unquestionably, the State’s age-based firearms ban (i) prohibits a subset “of
 13   the people” (18-to-20-year-olds), (ii) bans protected conduct (purchasing/acquiring
 14   firearms), and (iii) blanketly prohibits arms in common use and not both dangerous
 15   and unusual (long guns and centerfire semiautomatic rifles). As such, this group (18-
 16   to-20-year-olds) and the bearable arms (long guns and centerfire semiautomatic
 17   rifles) enjoy the Second Amendment’s full protection. Conversely, the State sustains
 18   no harm. As point out in Jones, “the government suffers no harm from an injunction
 19   that merely ends unconstitutional practices,” 34 F.4th at 733, citing Doe v. Kelly, 878
 20   F.3d 710, 718 (9th Cir. 2017).
 21         B.     The Likelihood of Success Factor is Satisfied.
 22
            Plaintiffs have shown an overwhelming likelihood of success on the merits
 23
      under the Heller/Bruen legal framework. Under the Second Amendment’s text, both
 24
      the conduct and the arms in question are protected. As such, the State bears the
 25
      burden to justify its blanket prohibition by showing relevant historical analogues
 26
      from the founding era. The State has not provided, and cannot provide, any such
 27
 28
                                                 22
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  1   analogous laws or regulations that justify prohibiting the Second Amendment rights
  2   of 18-to-20-year-olds based solely on their age and the firearms at issue.
  3         Additionally, the Panel opinion already noted “Plaintiffs’ overwhelming
  4   likelihood of success on the merits.” Jones, 34 F.4th at 733. As such, the State must
  5   overcome the Panel opinion’s undisputed facts and historical evidence; otherwise,
  6   this factor (likelihood of success) has been established. And because the proper
  7   application of the Heller/Bruen legal framework overwhelmingly supports Plaintiff’s
  8   likelihood of success on the merits, this Court is to apply that legal framework and
  9   reassess the remaining Winter factors consistent with the Bruen decision — a task
 10   made simpler under the guidance provided in Jones, 34 F.4th at 732-733.
 11
            C.     The Balance of Equities and Public Interest Favor Plaintiffs.
 12
            Both the balance of the equities and the public interest — which merge here,
 13
      Nken v. Holder, 556 U.S. 418, 435 (2009) — strongly support the relief requested.
 14
      “[I]t is always in the public interest to prevent the violation of a party’s constitutional
 15
      rights.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (citation omitted).
 16
      Those factors tip overwhelmingly in Plaintiffs’ favor because the State has no
 17
      legitimate interest — and no public interest is served — in enforcing laws, such as
 18
      Penal Code section 27510, that strip a broad subset of ‘the people” of their
 19
      constitutional rights due to the criminal acts of an infinitesimal group. The
 20
      preliminary injunction will protect Californians, ages 18 to 20 years old, from harm,
 21
      and the State “cannot suffer harm from an injunction that merely ends an unlawful
 22
      practice or reads a statute as required to avoid constitutional concerns.” Rodriguez v.
 23
      Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013).
 24
            Here, the State already attempted to tip the balance of equities and public
 25
      interest in its favor on appeal, alleging that the “potential harm of enjoining a duly-
 26
      enacted law designed to protect public safety outweighs [18-to-20-year-olds’]
 27
      inability to secure the firearm of their choice without proper training.” See Appellees’
 28
                                                  23
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  1   Answer Brief, ECF 24. This claim was rejected. See Jones, 34 F.4th at 730-731 and
  2   (Lee, concurring opinion at 747-748). Specifically, the opinion noted that the State
  3   justified Penal Code section 27510 by citing statistics showing that 18-20-year-olds
  4   constitute less than 5% of the population but represent more than 15% of homicide
  5   and manslaughter arrests and asserting that section 27510 enforcement is necessary
  6   for its “public safety” goal. See Jones, 34 F.4th at 730-731, and (Lee, concurring
  7   opinion at 747). And the concurring opinion went further, scolding the State for
  8   assuming a legal position with “no logical stopping point” and one that “would
  9   ultimately erode fundamental rights enumerated in our Constitution” based on
 10   “anecdotal evidence” and “questionable statistics.” Id. (Lee concurring opinion at
 11   747-748).
 12         The concurring opinion noted that “we cannot jettison our constitutional rights,
 13   even if the goal behind a law is laudable,” (Lee, concurring opinion at 747), and
 14   illustrated its point by citing the majority opinion, stating that “only 0.25% of young
 15   adults commit violent crimes. So California limits the rights of 99.75% of young
 16   adults based on the bad acts of an incredibly small sliver of the young adult
 17   population.” Id. at 748. “If California can deny the Second Amendment right to
 18   young adults based on their group’s disproportionate involvement in violent crimes,
 19   then the government can deny that right — as well as other rights ― to other groups,”
 20   a prospect that the concurring opinion made clear was wrong. Id. at 748-750.
 21
            Further, as stated above, “[t]he Second Amendment “is the very product of an
 22
      interest balancing by the people,” and it “surely elevates above all other interests the
 23
      right of law-abiding, responsible citizens to use arms” for self-defense. Bruen, 142
 24
      S.Ct. at 2131 (citing Heller, 554 U.S. at 635). The Court in Bruen emphasized that
 25
      “[i]t is this balance — struck by the traditions of the American people — that
 26
      demands our unqualified deference.” Bruen, 142 S.Ct. at 2131. Simply put, the State
 27
      cannot legitimately claim the interests tips sharply in its favor when it strips the rights
 28
                                                  24
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  1   of the 18-to-20-year-olds based solely on the “bad acts of an incredibly small sliver of
  2   the young adult population.” Jones, 34 F.4th at 748 Lee, concurring opinion).5
  3
      VIII. CONCLUSION
  4
             In light of the above, Plaintiffs request that this Court issue an order finding
  5
      that Penal Code section 27510 is unconstitutional and enjoining its enforcement.
  6
  7   January 16, 2023                        Respectfully submitted,
  8                                           DILLON LAW GROUP APC
  9
                                              Attorneys for Plaintiffs
 10
                                              By:      /s/ John W. Dillon
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 12                                                    John W. Dillon
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      5
 25     For the same reasons, and especially because this case seeks to vindicate Plaintiffs’
      constitutional rights and would not subject the government to any monetary losses, the
 26   Court should waive the bond requirement when it issues an injunction. Youth Justice Coal.
 27   v. City of Los Angeles, LA CV 16-07932, 2017 WL 396141, at *4 (C.D. Cal. 2017)
      (collecting cases).
 28
                                                  25
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